      Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

ARGELIO PINA                                  §
                                              §
                                              §       CIVIL ACTION NO. _________
VS.                                           §
                                              §      JURY DEMANDED
ALLSTATE TEXAS LLOYDS                         §

                                   NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW ALLSTATE TEXAS LLOYDS, and pursuant to Rule 15, Federal Rules of

Civil Procedure, and 28 U.S.C. Sections 1441 and 1332, files this its Notice of Removal and in

connection therewith would respectfully show the Court the following:

                                             I.
                                        BACKGROUND

       Petitioner is the Defendant in a civil action now pending in the County Court at Law No. 6,

Hidalgo County, Texas, Cause Number CL-15-1012-F styled Argelio Pina v. Allstate Texas Lloyds,

wherein Plaintiff seeks monetary relief for property damage, asserting claims for breach of contract

and alleged violations of the Texas Insurance Code, Deceptive Trade Practices Act (DTPA), and

Unfair Insurance Practices as well as claims for breach of the duty of good faith and fair dealing.

                                            II.
                                    BASIS FOR REMOVAL

       The district courts of the United States have original jurisdiction over this action based on

diversity of citizenship among the parties, in that the Defendant is diverse in citizenship from the

Plaintiff. Defendant Allstate Texas Lloyds is not a citizen of the State of Texas.

                                           III.
                                DIVERSITY IN CITIZENSHIP
          Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 2 of 6



           The Plaintiff, Argelio Pina, is domiciled in Hidalgo County, in the State of Texas, and was

domiciled there at the time this action was commenced. Plaintiff was at that time and is now a

citizen of the State of Texas.

           Allstate Texas Lloyds, the Defendant, is a Lloyds plan, an entity engaged in the business of

writing insurance on the Lloyds plan. The Lloyds plan is an unincorporated association, which is

considered to have the citizenship of its members, the underwriters. Allstate Texas Lloyds was, and

at the date of this Notice, remains, an association of underwriters whose individual underwriters are

all residents and citizens of the States of Illinois and New Jersey1. The United States Supreme Court

has consistently held for over one hundred years that the “citizenship of an unincorporated

association [such as Allstate] is determined . . . solely by the citizenship of its members.” See

Massey v. State Farm Lloyds Ins. Co. 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v.

Stenson, 616 F. Supp. 895, 898-899 (S.D. Tex. 1984) The underwriters for Allstate Texas Lloyds,

all reside outside the State of Texas and have continuously resided outside the State of Texas from

January 1, 2009 to the present. Accordingly, diversity of citizenship exists among the parties.

                                                  IV.
                                        AMOUNT IN CONTROVERSY

           The amount in controversy in this action exceeds, exclusive of interests and costs, the sum of

Seventy-Five Thousand Dollars ($75,000.00). Plaintiff’s Petition seems to assert he seeks actual

damages in an amount not to exceed $75,000.00. (See Paragraph VIII of Plaintiff’ss Original

Petition.) However, Plaintiff goes on to assert damages for knowing violations, willful and wanton

disregard for the rights of Plaintiff, statutory damages, and compensation for additional living

expenses. See Paragraphs VIII, IX, X, XI, and XII of Plaintiff’s Original Petition. Plaintiff did not

file a binding stipulation of damages. As further evidence of the amount in controversy, Defendant


1
    An Affidavit regarding the citizenship of the underwriters will be supplemented.
       Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 3 of 6



would show that the applicable policy provides dwelling limits of $124,000.00, other structures

limits of $12,400.00, and contents coverage of $67,600.00. See declarations page attached as

Exhibit A. Accordingly, considering Plaintiff’s pleadings, policy limits and the damages Plaintiff

would be entitled to, should he prevail, the amount in controversy exceeds Seventy-Five Thousand

Dollars ($75,000.00).

                                                  V.

        Removal of this action is proper under 28 U.S.C. §1441, since it is a civil action brought in a

state court, and the federal district courts have original jurisdiction over the subject matter under 28

U.S.C. §1332 because the Plaintiff and Defendant are diverse in citizenship and the amount in

controversy exceeds $75,000.00.

                                                  VI.

        This notice of removal is being filed within thirty (30) days after receipt by Petitioner of

Plaintiff’s Original Petition, which was the first notice to Defendant of this lawsuit. This removal is

filed under 28 U.S.C. Section 1446(b).

                                                 VII.

        Petitioner’s time to answer or remove with respect to the Plaintiff’s Original Petition has not

expired. Plaintiff’s Original Petition was served on the Defendant on April 13, 2015.

                                                 VIII.

        This action is one over which this Court has original jurisdiction under the provisions of 28

U.S.C. Section 1331 and this action may be removed to this Court by Petitioner, pursuant to the

provisions of 28 U.S.C. Section 1441. Copies of all pleadings including the docket sheet on file with

the State Court are attached hereto.

        WHEREFORE, ALLSTATE TEXAS LLOYDS, Defendant in this action, pursuant to these
      Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 4 of 6



statutes and in conformance with the requirements set forth in 28 U.S.C. §1446, removes this action

for trial from the County Court at Law No. 6, Hidalgo County, Texas to this Court, on this 13th day

of May, 2015.

                                                     Respectfully submitted,

                                                     BY:      /s/ Rosemary Conrad-Sandoval
                                                     Rosemary Conrad-Sandoval
                                                     Attorney-in-charge
                                                     State Bar #04709300
                                                     Federal ID #13738

                                                     Of Counsel:
                                                     R. Jordan Riley
                                                     State Bar No. 24064424
                                                     Federal ID No 2515695
                                                     ROERIG, OLIVEIRA & FISHER, L.L.P.
                                                     10225 North 10th Street
                                                     McAllen, Texas 78504
                                                     (956) 393-6300
                                                     (956) 386-1625 (Fax)

                                                     ATTORNEYS FOR DEFENDANT
Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 5 of 6
        Case 7:15-cv-00221 Document 1 Filed in TXSD on 05/13/15 Page 6 of 6



                                          CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of

Removal has been mailed, Certified Mail, Return Receipt Requested, to the Attorney for Plaintiff, as

follows:


                                             Jose Luis Flores
                                     LAW OFFICE OF JOSE LUIS FLORES
                                             1111 W. Nolana
                                           McAllen, Texas 78504

on this 13th day of May, 2015.


                                                                      /s/ Rosemary Conrad-Sandoval
                                                                     ROSEMARY CONRAD-SANDOVAL




S:\McAllen\April Burner\FEDERAL COURT\36224 Argelio Pina\Ntc of Removal (Fed).doc
